                                                                     CD                     C)    Cu       0           N)CC)            C)
                                                                     CD)                    tj    C                    C)C)             C)
                                                                     o                      C)    C)                                    [H
                                                                     Cl)                    CD                         C)Li             H
                                                                     Cl)                    CD    C)       C)          DiN)             Li
                                                     N)         N)                                CD       CD          C)               C)
                                                                     Ft                     CD    Ft       Ft             CD
                                                                     o                      CD    CD       CD          CCC)             N)
                                                                     CD                    CD)    C        C           DiG              H
     CC:)   Li      ci   U)    C)     rt   U)    Li       U)         CD              N)
                                                                Li         0               CD              CD    H     CrJ          <   )
C)   0      CD      C)    CD   CD     C)   C)    CD       C)    CD   C     CD)       H     C)     C        C
                    CD
                                                                                                                 C)    Li               Li
                         CD    C)     CD   CD    C)       CD   CD          C)              N)     Ft       Ft    H-    LiD)             C))
C)   CD     C)      C    N)    C)     C    N)    C)       N)    CD   0     Li        N)     C                    Cl)
C)   CD     CD           N)                                                                                               C
                               CD          N)    CD       N)    CD   CD    Li        N)    cC)    Ci       N)             C)
     C      Cl)     Ft         U)     Ft             U)
                                                                                                                                        0
                                                                U)   C)
CD   D      Ft      C)   Di    Ft     C)   Di     Ft      Di    Ft   CD    C)              CD
CD   CD     H-                                                                                    C)       C)    CD                              C)
                    CD   CD    H-     H-   CD        H-   CD    H-   CD       0    Li      C                     Ft
H    C      C       CD                                                                CD                                                         N)
                         0      C     CD   0      C       0     C          Ft C    N) Li                         Ft                           C)H
                                                                                                                                                       Case 2:09-cr-00299-SRC




U)   Ft     C)      CD   C)    -0     Ft   Li    cC)      C)   -0          C)    0    C)                         CD                     Li    N)Li
Ft                       C)           H    C)             C)               CD Ft   CD                            CD                     C)    C
                                                                           FtC)CDiCD
     CD     i                  C      (          [ii           CD          Ft        Cl)   (Cl    N)             CD
     N)                  C)    C)     C)         N)            jC)
                                                                                                        C)                              C)    N)H
                                           CC)            CD               C)              C)     N)    Ci       CD                           (DC)
     N)     CD     C)    CD    CC     —    --    H-       C                CD
                                                               H                           U)           Cli      N)                           HH
            C      CD  Q C     U)                         H
     C)     ti   C)HN)   C)                                                                                                                      Li
                                                                                           C)        C)                                       (iLl)
     CD 0        CDCl)
                    H- C)CC)
                          ICC CD                                           0     I         0  C)
     o  CD    CD H  0  CDU)
                          lCD Ft                                           Ft    K\        Ft (Cl    0
     C) C) H- Ft U)    Ft
                                                                                                  C)                                             C)
                           CD CD                                           H-              H- CD  H- 0                                        N)
     C)CDCC)CDC)CDCD                                                       0               CDoC)
                                                                                                                                                       Document 35




                                                                                                                                              LiCl)
     CD     CD     Cu    Ft    H-     C    Ft    H-            CD          U)        (1                                                          [H
            C                                                                                           CD
                   C)    CD    CD          CD    CD       C)   N)                    CD     \     C)    CD       C)                           CN)
     CD     Ft     CD    CD    N)     CD   CD    N)       CD               0         H            N)    N)       CD      0     0              LiC)
     *             CD    I--               H-
                                      C)                  Ft   H-          [CD                    CD             Ft
     H      CD     C     CD    H-     CD   CD    H-       CD   U)                    0           -J-    CC)      0
                         N)                                                                                              C)    H-             N)
                               U)     CD   N)    U)       CD               Ft        Ft           CD    H-       CD      Li
                                      C                   H-
                                                                                                                               C)             LiC)
                                                               CC)         C)                     CD    N)       CD
     LU     C)           N)    CC:)   C)   Ft    CD       CD   Li          CD    N)
     U      CD     C)                                                                                   CT                                       (Cl
                         0     CD)    CD   0     Li       N)   C)                CD                     CD       Ft
            Ft                 C)                C)            C)          C)    C)               Li    CD
     CD     U)           Ft                                                                                      C)
                               C)     0    Ft    C)       (    H           CD    Ft                     Ft       CD
     C             CD    C)    H      Ft   C)    H        C)   Li          Ft    CD              C)     H-
                                                                                                                                                       Filed 09/21/09




     N)     H-           CD    Li          CD    Li       H-   C)          CD
     o                                                                               C)                          0             C)
                               C)     Ft         C)       C)               C         C)                          0             CD
     CD            H-    C)           CD   C)    *        C)               C)        CD          CD    Li
     C)     CC:)   Ft                                                                                            C)
                         CD           H-   CD                              CD        CD          C)    Cl)       CD
     CD            C     ci                                                                                                    C)
            Li                        CD   Ft             CD   H           C                     C)    1)        Ft            N
     C)     C)     CD    CD    H      N)   CD    H        CC   C)          Ft        N)          CD
     CD            Cl)   C     C)          C     C)       H-   CD          U)        C)          (I    -         0             N)
     C      H      Cl)   Cl)   CD          U)    CD       U)                         C)
     Ft     Li                                                                                                   C
                         CD                CD             Ft   C)          CD)       N)          H-    CD
            C)                 C)                CD       U)   0           Li                    C     C)        Ft
     CD     -.     H     C     0           C     0             CD          C)                    Cl)   C)        C)
     CD            CD    0     CD          0     CD            CD
     CD            U)
                                                                                                       CD        CD            Cl)
                         Ft    CD          Ft    CD            CD          Li                          LU                      Cli
     0      C      Ft          CD                CD            C           N)                          CD        C)            -.
     t      CD     H-    N)    C)          N)    C                                                      H    -

     F[
                                                               C)                                                C)
                   C)    CD    C)          CD    C)            CD          CD                           C        Ft
     U)            0     U)    CD          U)    CD            C:)         C                           cC)       H-
                   C     U)    C           U)    C             Ft          C)                          —         0
                   H           Ft                Ft                                                              C
                                                                                                                                                       Page 1 of 3 PageID: 127
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      5)    Requesting videctape, audictape ar.d photographs is

           GRANTED.      The Government shall produce any videotapes,

           audiotapes and photographs which exist;

      6)   Requesting the preservation of agents’ rough notes is

           GRANTED.

      7)   Requesting information relating to the patrol car type

           and vehicle identification number is DENIED but leave

           is hereby GRANTED by the Court for an application by

           defense counsel for a subpoena pursuant to Federal Rule

           of Criminal Procedure 17(c);

      8)   Requesting information relating to ownership records of

           defendant JAMES CROSS’ car is DENIED but leave is

           hereby GRANTED by the Court for an application by

           defense counsel for a subpoena pursuant to Federal Rule

           of Criminal Procedure 17(c); and

     9)    Requesting notice to defense of all evidence the

           Government intends to offer of other crimes, wrong or

           acts within the meaning of Rule 404(b) of the Federal

           Rules of Evidence is GRANTED.        The Government shall

           provide notice to the defense not less than ten (10)

           days prior to the date of trial.

     Defendants have withdrawn their motions requesting

unredacted discovery, the serial number of the handgun and the

summons.
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                        Case 2:09-cr-00299-SRC




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